Case 1:17-cv-00113-PLM-RSK ECF No. 173 filed 05/15/19 PageID.2391 Page 1 of 1

                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 GRAND RAPIDS, CITY OF,

           Plaintiff,                       Case No. 1:17−cv−113

     v.                                     Hon. Paul L. Maloney

 GRAND RAPIDS POLICE COMMAND
 OFFICERS ASSOCIATION, et al.,

           Defendants.
                                        /



                             NOTICE OF HEARING


 TAKE NOTICE that a hearing has been scheduled as set forth below:

 Type of hearing(s):     In−Court Hearing
 Date/Time:              May 24, 2019 01:30 PM
 District Judge:         Paul L. Maloney
 Place/Location:         174 Federal Building, Kalamazoo, MI


                                        PAUL L. MALONEY
                                        United States District Judge

 Dated: May 15, 2019              By:    /s/ Amy C. Redmond
                                        Case Manager
